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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


  SASHA PIPPENGER, et al.,

                            Plaintiffs,                         Civil Action No. 1:25-cv-01090

          -against-

  U.S. DOGE Service, et al.,

                            Defendants.




                  PLAINTIFFS’ MOTION FOR EXPEDITED DISCOVERY

       Plaintiffs Sasha Pippenger, Shira Lowinger, Elizabeth Quinlan, Chris Bosley, Chester A.

Crocker, Mohamed Khalil Abuznad, Brave Generation, InterMotion Media LLC, and Peace in

Praxis, LLC (collectively, “Plaintiffs”), respectfully move for an order permitting Plaintiffs to take

limited depositions. A memorandum of law and a proposed order are attached.

Dated: May 9, 2025                             Respectfully submitted,

EMERY CELLI BRINCKERHOFF                      ALI & LOCKWOOD LLP
ABADY WARD & MAAZEL LLP

  /s/ Daniel M. Eisenberg                       /s/    Kathryn Ali
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*Admitted pro hac vice

** Application for admission pro hac vice
pending
